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             EXHIBIT 16
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GA Department of Community Health (Jerry Dubberly)                                December 15, 2008
                                             Atlanta, GA

                                                                                        Page 1
                    IN THE UNITED STATES DISTRICT COURT

                     FOR THE DISTRICT OF MASSACHUSETTS

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       IN RE:    PHARMACEUTICAL INDUSTRY             )

       AVERAGE WHOLESALE PRICE LITIGATION ) MDL No. 1456

       -----------------------------------) Civil Action

       THIS DOCUMENT RELATES TO:                     ) No. 01-12257-PBS

       United States of America, ex. rel. ) Hon. Patti Saris

       Ven-a-Care of the Florida Keys,               )

       Inc., v. Abbott Laboratories, Inc.,)

       Civil Action No. 06-11337-PBS; and )

       United States of America, ex. rel. ) VIDEOTAPED

       Ven-a-Care of the Florida Keys,               ) DEPOSITION OF

       Inc., v. Dey, Inc., et. al., Civil ) THE GEORGIA

       Action No. 05-11084-PBS; and United) DEPARTMENT OF

       States of America, ex. rel.                   ) COMMUNITY HEALTH

       Ven-a-Care of the Florida Keys,               ) by JERRY

       Inc., v. Boehringer Ingleheim                 ) DUBBERLY

       Corp. et. al., Civil Action                   )

       No. 07-10248-PBS.                             ) DECEMBER 15, 2008

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                                              Page 90                                                  Page 92
 1           These documents are different -- are       1     calculate the rebate, the supplemental rebate.
 2   different in language because they were            2            When we changed methodologies under
 3   administered under two different ways that we      3     Georgia -- under Exhibit Georgia 17, AMP was not
 4   administer our rebate -- supplemental rebate       4     used in -- in this calculation explicitly.
 5   program. But these are examples of our             5     However, it was a guaranteed net unit price --
 6   supplemental rebate contracts from two respective 6      guaranteed pricing which would have taken into
 7   periods.                                           7     account the federal rebate which is calculated
 8       Q. On Exhibit 16, can you look at page 11.     8     from AMP. So --
 9   It's a section entitled -- section 7.6 entitled    9                 (Whereupon a document was
10   "Confidentiality."                                10     identified as Exhibit Georgia 018.)
11           Can you just read -- review paragraph a   11         Q. (By Mr. Lavine) I've just marked as
12   to yourself.                                      12     Exhibit 18 a letter-sized document. It states on
13       A. Sure.                                      13     the front cover "Georgia Department of Community
14           Okay.                                     14     Health," June 30th, 2000. In the upper right-
15       Q. And Exhibit 17, page 9 also has a          15     hand corner it states "Deloitte & Touche."
16   section entitled "Confidentiality Provisions."    16            I'll just ask you to take a look and
17           If you could, just take a look at         17     tell me if you recognize that document.
18   section 7.1 and 7.3.                              18         A. I do.
19       A. Okay.                                      19         Q. What is it?
20       Q. To your knowledge, has the State of        20         A. This is a dispensing fee survey that
21   Georgia complied with those confidentiality       21     the department paid Deloitte to conduct in 2000
22   provisions?                                       22     to determine the cost of dispensing to Medicaid
                                              Page 91                                                  Page 93
 1       A. Yes.                                          1   pharmacies.
 2       Q. And has the State of Georgia ever used        2       Q. On page 3, in the very first paragraph,
 3   any data received in connection with either          3   it states that, "During Fiscal Year 1999, the
 4   Exhibit 16 or 17 to set reimbursement rates?         4   Medicaid Program paid pharmacy providers on
 5       A. No.                                           5   behalf of its recipients for 12.7 million
 6       Q. What was the data -- to the extent data       6   prescription claims with a total expenditure of
 7   was transmitted in connection with Exhibit 16 or     7   $435 million."
 8   17, what would the purpose be?                       8           And then, Dispensing fees accounted for
 9       A. The purpose would -- this data would be       9   approximately 10 percent of the total
10   internal for the review of the cost of              10   expenditure.
11   medications, the net cost of medications, used in   11           Do those numbers appear generally
12   conjunction with determining the preferred drug     12   accurate to you?
13   list status of a medication.                        13       A. Yes.
14       Q. In connection with a supplemental            14       Q. And this report was prepared by
15   rebate?                                             15   Deloitte & Touche at the request of the Georgia
16       A. Yes.                                         16   Medicaid program?
17       Q. But is it used to calculate the rebate?      17       A. That's correct.
18       A. It is -- this information that this          18       Q. And the purpose of it was to help
19   speaks to is used in part of the rebate             19   administer the Medicaid program?
20   calculation, the federal rebate.                    20       A. Yes.
21           And then under the document labeled         21       Q. I just wanted to go back to the
22   "Exhibit 16," the AMP pricing was used to           22   provision we talked about for the reimbursement
                                                                                 24 (Pages 90 to 93)
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                                             Page 354                                                 Page 356
 1        Q. (By Mr. Lavine) Well, when I rephrased      1      Q. So in part, it's a side effect of the
 2   it, I -- I brought it just to any -- any person     2   spread between AWP and actual cost?
 3   who wanted to change the reimbursement on a         3         MR. COLE: Object to the form.
 4   particular item under the Medicaid program for      4      A. Yes, it is.
 5   Georgia.                                            5      Q. (By Mr. Lavine) Now, the state plan
 6            How would -- how would that be             6   for Georgia -- let me ask you to look at Exhibit
 7   addressed normally?                                 7   3.
 8        A. That would be raised to the department      8         Am I correct that the state plan
 9   in the form of a concern or complaint.              9   provides that the dispensing fee is based upon
10        Q. And certainly not through the              10   periodic surveys of pharmacy operating costs
11   perpetration of a fraud.                           11   including professional salaries and fees,
12            MR. ROBBEN: Object to the form.           12   overhead costs, and reasonable profit?
13            MR. COLE: Object to the form.             13      A. Yes. That is correct.
14        A. Not -- that would not be the normal        14      Q. And in general, that was the policy of
15   avenue.                                            15   the Georgia Medicaid program?
16        Q. (By Mr. Lavine) You were having some       16      A. Yes.
17   discussion earlier about ingredient and            17      Q. And is it your expectation that CMS
18   dispensing fee costs.                              18   would have approved a divergence from that
19            Were you saying that Georgia had a        19   policy?
20   secret practice of purposely paying more on the    20      A. No.
21   ingredient cost so that it could purposely         21         MR. ROBBEN: Object to the form.
22   underpay the dispensing fee?                       22         MR. COLE: Object to the form.
                                             Page 355                                                 Page 357
 1       A. Not at all.                                 1        Q. (By Mr. Lavine) Do you remember
 2          MR. ROBBEN: Object to the form.             2    Exhibit 14 -- or can you pull out Exhibit 14,
 3       Q. (By Mr. Lavine) How did it come about,      3    please.
 4   then, that the dispensing fee -- well, clarify     4           The very -- the next-to-last paragraph,
 5   for me what -- what you were saying before.        5    "We would also clarify our policy that a
 6       A. The -- the charge to the Medicaid           6    dispensing fee determination must be separate and
 7   agency is to estimate, to the best of its          7    distinct from the EAC determination and unrelated
 8   ability, the actual acquisition cost of the drug   8    to the cost of the drug product."
 9   or the estimated acquisition of a cost and pay a   9           Has it been the understanding of the
10   fair dispensing fee.                              10    Georgia Medicaid program that that is the
11          Knowing that there is no source other      11    directive of the federal -- the federal program
12   than each individual's -- provider's invoice of   12    that runs Medicaid?
13   what the acquisition cost of a drug is, the       13        A. Yes.
14   department has used average wholesale price and a 14           MR. COLE: Object to the form.
15   discounted rate off of that to approximate some   15        A. Yes.
16   form of estimated acquisition cost.               16           MR. LAVINE: Let me just mark two more
17          There -- the dispensing fees are           17    exhibits real quick.
18   reflective of -- of the effect of not having that 18           MR. COLE: Was there an answer to the
19   actual acquisition cost in that they are          19    last question?
20   artificially lower than what it actually costs to 20           THE COURT REPORTER: It was, "Yes."
21   dispense a drug, again because there's margin in  21           MR. COLE: Thank you.
22   the ingredient cost.                              22               (Whereupon a document was
                                                                              90 (Pages 354 to 357)
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 1   identified as Exhibit Georgia 034.)                1   dispensing fee are separable.
 2          MR. ROBBEN: What number is the first        2          "Reimbursement for the cost of a drug
 3   one?                                               3   is either determined on the basis of the drug's
 4          MS. TOWNES: 34.                             4   estimated acquisition cost or the allowable cost
 5          MR. ROBBEN: Thank you.                      5   determined by the application of the Federal
 6       Q. (By Mr. Lavine) We just marked as           6   upper limit amount, if applicable.
 7   Exhibit 34 a two-page document on the letterhead   7          "The cost of the dispensing fee is
 8   of the Department of Health and Human Services     8   based on the professional service provided by the
 9   dated November 30th, 1993, directed to Russell     9   pharmacist."
10   Toal, commissioner, Georgia Department of Medical 10          And then Exhibit 35, the very last
11   Assistance.                                       11   sentence -- the very last paragraph, "Based on
12          And although there's no actual             12   the reasons described above, and after
13   signature there, it reflects that it was sent by  13   consultation with the Secretary as required by 42
14   Eugene Grasser.                                   14   CFR 430.15(c)(2), I am hereby disapproving
15          MR. ROBBEN: Mr. Lavine, could you          15   Georgia SPA 93-45."
16   clarify where this document is from. Is it -- is  16          To the extent that there -- there was
17   it from the U.S. production or Florida            17   an earlier question about whether there's
18   production? It doesn't have a Bates number on     18   anything wrong with overpaying ingredient costs
19   it.                                               19   to make up for a dispensing fee.
20          MR. LAVINE: It's from the Georgia          20          After reading this, would you agree
21   production.                                       21   that that would be a violation of the federal
22          MR. ROBBEN: From the Georgia? Thank        22   requirements of the Medicaid program?
                                             Page 359                                                Page 361
 1   you.                                               1          MR. ROBBEN: Object to the form.
 2              (Whereupon a document was               2          MR. COLE: Object to the form.
 3   identified as Exhibit Georgia 035.)                3      A. Yes. The practice is frowned upon by
 4       Q. (By Mr. Lavine) And then as Exhibit         4   CMS. However, subsequent state plans have been
 5   35, I marked a two-page letter on the letterhead   5   approved that do the same thing.
 6   of the Department of Health and Human Services 6          Q. (By Mr. Lavine) Is there --
 7   directed to a Marjorie Smith, commissioner of the 7           MR. COLE: I'm sorry. Could I have
 8   State of Georgia Department Assistance reflecting 8    that answer read back, please.
 9   a signature of Bruce Vladeck.                      9              (The record was read by the
10           After you look at these letters, I just   10   reporter.)
11   have one or two short questions, I hope.          11          MR. COLE: Thank you.
12           MR. COLE: Are they Bates-stamped?         12      Q. (By Mr. Lavine) You're referring to
13           MR. LAVINE: No. They're part of the       13   the particular situation in Exhibit 34 that
14   Georgia production.                               14   describes that a -- a dispensing fee based upon
15           MR. COLE: Okay.                           15   the ingredient as a percentage of the ingredient
16           MR. LAVINE: I hope I did a decent job     16   cost?
17   identifying them for the record.                  17      A. No.
18       A. Okay.                                      18      Q. What do you mean?
19       Q. (By Mr. Lavine) So the third paragraph     19      A. Subsequent state plans, for example,
20   of Exhibit 34, the second sentence, it states,    20   moving the reimbursement to AWP minus 11 percent
21   "It is our position that the calculation of the   21   plus the 4.63 --
22   cost of the drug and the calculation of the       22      Q. Is there a provision in the state plan
                                                                            91 (Pages 358 to 361)
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                                               Page 362                                                 Page 364
 1   that specifies that the ingredient cost is higher     1       Q. I think you're right.
 2   than it otherwise would be --                         2          So the Deloitte & Touche report
 3       A. No.                                            3   commissioned by the Georgia Department of Health
 4       Q. -- and, therefore, the dispensing fee          4   dated June 30th, 2000 concluded that the average
 5   is lower than it would be?                            5   cost to dispense a prescription in the state of
 6          MR. ROBBEN: Object to the form.                6   Georgia is between $4.50 and $5.45.
 7       A. No.                                            7          Would you agree with that?
 8          MR. COLE: Object to form.                      8       A. Yes.
 9       A. No.                                            9       Q. And what was the actual dispensing fee
10       Q. (By Mr. Lavine) That's not something          10   in the state of Georgia at that time?
11   that would be approved by CMS, is it?                11          And Exhibit 4 might be a good
12          MR. ROBBEN: Object to the form.               12   reference.
13          MR. COLE: Object to the form.                 13       A. $4.63 and $4.33.
14       A. Can you clarify what the question is          14       Q. Would you agree that there is not a
15   again.                                               15   substantial difference between the actual
16       Q. (By Mr. Lavine) If -- if the State of         16   dispensing fee and the results of the Deloitte
17   Georgia explained to CMS that it wanted to           17   study?
18   implement a policy of purposely overpaying           18          MR. ROBBEN: Object to the form.
19   ingredient costs so that it could underpay the       19          MR. COLE: Object to the form.
20   dispensing fee, would you expect that to be          20       A. There's not a substantial difference,
21   approved by CMS?                                     21   in my opinion.
22          MR. ROBBEN: Object to the form.               22       Q. (By Mr. Lavine) Can you look at
                                               Page 363                                                 Page 365
 1          MR. COLE: Object to the form.               1      Exhibit 24. On page -- on the second page of
 2       A. No.                                         2      that exhibit, third paragraph from the bottom,
 3       Q. (By Mr. Lavine) Georgia -- Georgia's        3      the very last -- the last two sentences, "Most of
 4   Medicaid program understands that a directive      4      the purchases" -- and then skip a little and jump
 5   from the federal end of the Medicaid program was 5        to -- "were made at prices averaging about 16
 6   to keep those two items separate.                  6      percent below AWP.
 7          MR. COLE: Object to the form.               7              "These drug purchases ranged from as
 8       A. Yes.                                        8      little as .23 percent below AWP to as much as 42
 9       Q. (By Mr. Lavine) Look at Exhibit 18          9      percent below AWP."
10   quickly. It's the Deloitte & Touche exhibit.      10              Do you see that language?
11   Look at page 8.                                   11          A. I do not. Where is it again?
12          The average total cost to dispense a       12          Q. The third paragraph that starts with
13   prescription in the state of Georgia at a 95      13      "Our review."
14   percent confidence rate is $5.01 plus or minus 44 14              That looks like a different page.
15   cents.                                            15          A. Second page?
16          So would you agree that that would lead    16              MS. TOWNES: I think it's this one.
17   to a dispensing fee of between $5.45 and -- I     17          A. Third page.
18   need to do the math so I get it right -- $4.77?   18          Q. (By Mr. Lavine) Oh, I'm sorry. Mine's
19          MR. ROBBEN: Object to the form.            19      printed front and back. Yes, third page.
20       Q. (By Mr. Lavine) Did I get my math          20              The last two sentences of that
21   wrong?                                            21      paragraph talk about some price information.
22       A. I'm very tired, but I think it's 4.57.     22              Do you read that to see -- do you read
                                                                               92 (Pages 362 to 365)
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